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            1    3 PAGES
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            7
            8                      UNITED STATES BANKRUPTCY COURT

            9                        EASTERN DISTRICT OF CALIFORNIA

           10                                SACRAMENTO DIVISION
           11                                            Case No.     19-21640
                 In re
           12                                            Chapter 13
                 DEBORA LEIGH
           13    MILLER - ZURANICH                       DCN: DTK-1
           14                      Debtor.               MOTION TO DISMISS
                                                         BANKRUPTCY CASE WITH
           15                                            180 DAY BAR TO RE-FILING

           16                                            AND JOINDER IN MOTION FILED BY
                                                         OCRE INVESTMENT FUND I.
           17
                                                         DATE:        October 8, 2019
           18
                                                         TIME:        2:00 p.m.
           19
                                                         DEPARTMENT B
           20                                            COURTROOM 32
                                                         Hon. Christopher D. Jaime
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            1          Hall Mortgage Fund, LP hereby joins in the Motion of OCRE Investment Fund
            2    1 filed September 30, 2019 (Docket No. 118) but requests the remedy of dismissal,

            3    rather than conversion, of this bankruptcy case. This Motion is noticed for hearing on
            4    October 8, 2019 as authorized by the Court’s Order entered August 28, 2019 (Docket
            5    No. 93) setting the Preliminary Status Conference for that date.

            6          Hall Mortgage Fund, LP files this motion to dismiss based upon independent
            7    grounds not addressed by the OCRE motion. Specifically, the property subject to the
            8    Hall Mortgage trust deed is not property of the bankruptcy estate. It is owned by a

            9    family trust established by the Debtor’s now deceased father, of which the Debtor is
           10    only one of multiple beneficiaries. The terms of the Trust prohibit distribution of the
           11    property to any of the beneficiaries until the year 2027.

           12          This bankruptcy case was originally filed by the Debtor in propria persona, as
           13    her fifth consecutive chapter 13 petition, all to frustrate foreclosures on the Incline
           14    Village property. The Debtor later retained an attorney, who immediately submitted

           15    an amendment to Schedule A (Docket No. 46) which deletes a previous reference to
           16    the Trust and now states that the Incline Village property is owned by the Debtor in
           17    “Fee Simple.” The Debtor, with the aid of her attorney, is prosecuting this bankruptcy

           18    case in bad faith, based upon intentionally false statements in the amended Schedules.
           19          This Motion is supported by the Declaration of Ronda McNeff, the Request for
           20    Judicial Notice and the Memorandum of Points and Authorities filed herewith.

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            1          WHEREFORE Hall Mortgage prays that the Court issue an order dismissing
            2    this chapter 11 case, and making the following findings:

            3          1.    That the Debtor has failed to abide by orders of the Court and failed to
            4    appear in proper prosecution of the case, within the meaning of 11 U.S.C. § 109(g)(1).
            5          2.    That this case was filed, and is now being prosecuted, in bad faith.

            6          3.    For such other and further relief as the Court deems just.
            7    DATE:        October 1, 2019           KIRBY & McGUINN, A P.C.
            8
            9                                           By: /s/ Dean T. Kirby, Jr.
                                                        Dean T. Kirby, Jr.
           10                                           Attorneys for Creditor
                                                        Hall Mortgage Fund, LP
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                                   MOTION TO DISMISS BANKRUPTCY CASE
